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                                               Exhibit N
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                                 Washington, DC

                                                                       1059
                     UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MASSACHUSETTS

      - - - - - - - - - - - - - - -x

      IN RE:    PHARMACEUTICAL       :   MDL NO. 1456

      INDUSTRY AVERAGE WHOLESALE     :   CIVIL ACTION

      PRICE LITIGATION               :   01-CV-12257-PBS

      - - - - - - - - - - - - - - -x

      THIS DOCUMENT RELATES TO:      :

      U.S. ex rel. Ven-a-Care of     :   Hon.    Patti B. Saris

      the Florida Keys, Inc.         :

           v.                        :

      Dey, Inc., et al.              :

      No. 05-11084-PBS               :

      - - - - - - - - - - - - - - -x



           (CROSS NOTICED CAPTIONS ON FOLLOWING PAGES)



                CONTINUED DEPOSITION OF T. MARK JONES

                          Washington, D.C.

                     Tuesday, December 9, 2008

                             VOLUME IV




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                                                              37 (Pages 1200 to 1203)
                                                 1200                                                      1202
 1   contract price for any of these Roxane NDCs?         1    did not purchase those drugs during the course of
 2          MR. BREEN: Objection. Form.                   2    its investigation?
 3          THE WITNESS: Do I have evidence? No.          3        A. Yes. That would be likely.
 4             (Exhibit Roxane 201 was marked for         4        Q. Okay. So the actual purchases that --
 5   identification.)                                     5    that Ven-A-Care made were exclusively for
 6   BY MR. GORTNER:                                      6    Roxane's Ipratropium Bromide product, and then
 7       Q. I'm going to hand you what I'm marking        7    the other products, Ven-A-Care's investigation
 8   as Roxane Exhibit 201.                               8    was looking at the McKesson Econolink pricing,
 9       A. Okay.                                         9    for instance?
10       Q. This appears to be another ANDA invoice      10        A. Yes.
11   for a Roxane Ipratropium Bromide. And it's dated    11        Q. I take it, then, it's fair to say that
12   December 10th, 2001. Is this a document that        12    for all of Roxane's drugs listed here in Exhibit
13   Ven-A-Care would keep in the ordinary course of     13    B of the United States's complaint, Ven-A-Care
14   its business?                                       14    never submitted a claim for Medicare
15       A. Yes.                                         15    reimbursement for any of those Roxane NDCs?
16       Q. And you can see here that it appears to      16           MR. BREEN: Did you say "Medicaid"?
17   be purchasing two Ipratropium Bromide products      17           THE WITNESS: "Medicare" he said.
18   with Roxane NDCs on or about this date; is that     18           MR. BREEN: Thank you.
19   right?                                              19           THE WITNESS: I think that I could say
20       A. Yes.                                         20    no, we didn't.
21       Q. I take it you can't testify whether          21    BY MR. GORTNER:
22   this particular document had been included in any   22        Q. And I'll ask the same question for all
                                                 1201                                                      1203
 1   of Ven-A-Care's disclosure statements to the         1    of these Roxane NDCs listed in Exhibit B. Ven-A-
 2   government?                                          2    Care never submitted a claim for reimbursement to
 3       A. I don't. I mean, let me give you a            3    any Medicaid program?
 4   general statement. I think whenever we had           4        A. I'm much less likely to say no, because
 5   invoices that proved pricing, we -- we provided      5    it's a possibility that we did.
 6   them to the -- to the government.                    6        Q. Okay.
 7       Q. I understand that. You just don't know        7        A. I'd have to maybe look at the invoices,
 8   for sure --                                          8    just to make sure, or the EOBs, to see if I don't
 9       A. Right.                                        9    find an 00054 number.
10       Q. -- if these particular documents --          10        Q. Well, let's -- let's look at these
11       A. Correct.                                     11    drugs right now, in terms of your recollections
12       Q. -- were.                                     12    sitting here today. Is there any drug that you
13          Mr. Jones, when I reviewed the document      13    can say that Ven-A-Care submitted a Medicaid
14   production by Ven-A-Care, I found invoices for --   14    claim on?
15   like these that we've just been going over for --   15        A. (Viewing documents.) I don't believe
16       A. Uh-huh.                                      16    so.
17       Q. -- for Roxane's Ipratropium Bromide.         17        Q. And then I take it that since Ven-A-
18   But as I look at the drugs listed on Exhibit B of   18    Care only purchased Ipratropium Bromide, that it
19   the United States's complaint, I did not find any   19    never dispensed any of the other drugs to a
20   invoices for any of the other drugs that are        20    patient at any point?
21   listed there. Is it likely that -- that Roxane      21        A. Not to my knowledge.
22   did not -- I mean, I'm sorry -- that Ven-A-Care     22        Q. Okay. And the purchases that I saw for


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                                                             38 (Pages 1204 to 1207)
                                               1204                                                      1206
 1   Ipratropium Bromide were all in the 2000 onward     1    example.
 2   period. Is that accurate?                           2       Q. Or -- yes. And I'm also referring to
 3       A. That's what I've seen. I mean, that's        3    contracts that Roxane might have with --
 4   what I'm seeing here. Yeah.                         4       A. End users.
 5       Q. So when Ven-A-Care was purchasing            5       Q. I'm sorry. Let me -- just make sure --
 6   Ipratropium Bromide, it was purchasing it for --    6       A. I'm sorry.
 7   for purposes of its investigation in this           7       Q. -- the record is clear.
 8   litigation?                                         8       A. I'm sorry.
 9       A. That, and demonstrating, and, you know,      9       Q. I'm also referring to contracts that
10   showing it when we're doing presentations. We --   10    Roxane might have with the end-used pharmacies.
11   we would frequently purchase medication for that   11    Ven-A-Care never had a contract like that,
12   reason as well.                                    12    correct?
13       Q. You're referring to presentations?          13       A. No.
14       A. So you could see it. See it.                14       Q. Ven-A-Care's purchases of Roxane's
15       Q. I apologize for interrupting you.           15    products were limited to Ipratropium Bromide and
16   You're referring to when you made presentations    16    to purchases through entities like GPOs or
17   to state Medicaid agencies or the federal          17    wholesalers distributors; is that correct?
18   government?                                        18       A. Yes. If you're asking me did we
19       A. Anyone that we were making                  19    purchase them directly from Roxane? Is that what
20   presentations to.                                  20    you're -- no. We did not purchase directly from
21       Q. Okay.                                       21    Roxane.
22       A. I'm not saying that's exactly what this     22       Q. And I take it Ven-A-Care never called
                                               1205                                                      1207
 1   was for. I'm just saying that's a possibility.      1    Roxane directly to ask for price quotes?
 2      Q. It wasn't to dispense to a patient,           2       A. No.
 3   though, right?                                      3       Q. No, you did not?
 4      A. Not to my knowledge, no.                      4       A. No. We did not.
 5      Q. None -- none of the purchases of              5       Q. I'm sorry. There's double negatives
 6   Roxane's drugs were dispensed to a patient?         6    are difficult.
 7      A. No.                                           7       A. I'm sorry.
 8      Q. "No" in that's a correct statement?           8           MR. BREEN: Particularly, there was a
 9      A. No. He is correct. Yes.                       9    double negative in the question, and then another
10      Q. Ven-A-Care never had a direct contract       10    double negative in the answer.
11   with Roxane to purchase drugs? What I mean by      11    BY MR. GORTNER:
12   that is, as -- as I imagine you've learned in      12       Q. Did Ven-A-Care ever receive any letters
13   this litigation, Roxane, at various times, has     13    directly from Roxane announcing prices?
14   had direct contracts with retail pharmacies --     14       A. I don't -- I can't say no for sure. I
15      A. Right.                                       15    don't recall any off the top of my head. But
16      Q. -- through which they purchase --            16    Ven-A-Care frequently got fliers from
17      A. Right.                                       17    manufacturers, when they were talking about a
18      Q. -- drugs based on that contract with         18    drug or a change in, you know, maybe the way it
19   Roxane. I take it Ven-A-Care never had a direct    19    was packaged or increasing a price or decreasing
20   contract like that with Roxane?                    20    a price. I mean, that wasn't infrequent.
21      A. No. You're talking about like their          21           I don't -- do I -- do I know if Ven-A-
22   contracts with RDI or ANDA is a -- is a good       22    Care was on that mailing list? I don't know. I


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                                                             38 (Pages 1204 to 1207)
                                               1204                                                      1206
 1   Ipratropium Bromide were all in the 2000 onward     1    example.
 2   period. Is that accurate?                           2       Q. Or -- yes. And I'm also referring to
 3       A. That's what I've seen. I mean, that's        3    contracts that Roxane might have with --
 4   what I'm seeing here. Yeah.                         4       A. End users.
 5       Q. So when Ven-A-Care was purchasing            5       Q. I'm sorry. Let me -- just make sure --
 6   Ipratropium Bromide, it was purchasing it for --    6       A. I'm sorry.
 7   for purposes of its investigation in this           7       Q. -- the record is clear.
 8   litigation?                                         8       A. I'm sorry.
 9       A. That, and demonstrating, and, you know,      9       Q. I'm also referring to contracts that
10   showing it when we're doing presentations. We --   10    Roxane might have with the end-used pharmacies.
11   we would frequently purchase medication for that   11    Ven-A-Care never had a contract like that,
12   reason as well.                                    12    correct?
13       Q. You're referring to presentations?          13       A. No.
14       A. So you could see it. See it.                14       Q. Ven-A-Care's purchases of Roxane's
15       Q. I apologize for interrupting you.           15    products were limited to Ipratropium Bromide and
16   You're referring to when you made presentations    16    to purchases through entities like GPOs or
17   to state Medicaid agencies or the federal          17    wholesalers distributors; is that correct?
18   government?                                        18       A. Yes. If you're asking me did we
19       A. Anyone that we were making                  19    purchase them directly from Roxane? Is that what
20   presentations to.                                  20    you're -- no. We did not purchase directly from
21       Q. Okay.                                       21    Roxane.
22       A. I'm not saying that's exactly what this     22       Q. And I take it Ven-A-Care never called
                                               1205                                                      1207
 1   was for. I'm just saying that's a possibility.      1    Roxane directly to ask for price quotes?
 2      Q. It wasn't to dispense to a patient,           2       A. No.
 3   though, right?                                      3       Q. No, you did not?
 4      A. Not to my knowledge, no.                      4       A. No. We did not.
 5      Q. None -- none of the purchases of              5       Q. I'm sorry. There's double negatives
 6   Roxane's drugs were dispensed to a patient?         6    are difficult.
 7      A. No.                                           7       A. I'm sorry.
 8      Q. "No" in that's a correct statement?           8           MR. BREEN: Particularly, there was a
 9      A. No. He is correct. Yes.                       9    double negative in the question, and then another
10      Q. Ven-A-Care never had a direct contract       10    double negative in the answer.
11   with Roxane to purchase drugs? What I mean by      11    BY MR. GORTNER:
12   that is, as -- as I imagine you've learned in      12       Q. Did Ven-A-Care ever receive any letters
13   this litigation, Roxane, at various times, has     13    directly from Roxane announcing prices?
14   had direct contracts with retail pharmacies --     14       A. I don't -- I can't say no for sure. I
15      A. Right.                                       15    don't recall any off the top of my head. But
16      Q. -- through which they purchase --            16    Ven-A-Care frequently got fliers from
17      A. Right.                                       17    manufacturers, when they were talking about a
18      Q. -- drugs based on that contract with         18    drug or a change in, you know, maybe the way it
19   Roxane. I take it Ven-A-Care never had a direct    19    was packaged or increasing a price or decreasing
20   contract like that with Roxane?                    20    a price. I mean, that wasn't infrequent.
21      A. No. You're talking about like their          21           I don't -- do I -- do I know if Ven-A-
22   contracts with RDI or ANDA is a -- is a good       22    Care was on that mailing list? I don't know. I


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                                                              39 (Pages 1208 to 1211)
                                                1208                                                       1210
 1   think that if Ven-A-Care was on that mailing list    1        A. No. The only documents I think that it
 2   in 2000, they would have pulled us off real fast,    2    -- and, actually, I read this in Dr. Lockwood's
 3   if that says anything. You know what I'm saying?     3    deposition as well -- where we did -- where we
 4       Q. Well, let -- let me break it down a           4    did the -- the New Jersey Medicaid, and we got
 5   little bit. To prepare to testify today as the       5    all those documents with all the pharmaceutical
 6   corporate designee of Ven-A-Care --                  6    advertisements. I haven't been through those in
 7       A. Uh-huh. Right.                                7    ages. So, you know, that's -- again I'm not -- I
 8       Q. -- you -- I take it you spoke with            8    don't think it really even really addresses your
 9   counsel --                                           9    -- your question.
10       A. Yes.                                         10           MR. BREEN: What he's talking about is
11       Q. -- and discussed -- let me just finish       11    an assembly of documents that I think was
12   the question.                                       12    formally produced by the United States in these
13           And discussed communications that Ven-      13    cases with a, quote, New Jersey Medicaid group of
14   A-Care had had with Roxane over the years. Is       14    documents.
15   that right?                                         15    BY MR. GORTNER:
16       A. Yes.                                         16        Q. And you're not aware of any documents
17       Q. And you also, I take it, reviewed            17    than that that were in fact documents that were
18   documents or indices of documents to see what       18    Roxane specific?
19   types of communications Ven-A-Care had with         19        A. Not -- no.
20   Roxane?                                             20        Q. And those documents of course wouldn't
21       A. Yes.                                         21    be documents that were sent to Ven-A-Care?
22       Q. Did any of that preparation or               22        A. No.
                                                1209                                                       1211
 1   investigation lead you to believe today that         1        Q. Did a Roxane salesperson ever visit
 2   Roxane, in fact, ever sent correspondence, either    2    Ven-A-Care or call a Ven-A-Care representative to
 3   a letter or fax directly from Roxane to Ven-A-       3    discuss its -- Roxane's drug products?
 4   Care, advertising prices for its drug products?      4        A. No.
 5       A. No.                                           5        Q. Has anyone at Ven-A-Care ever had any
 6       Q. Do you have any reason, sitting here          6    contact, outside of this litigation, with any
 7   today, to believe that Roxane in fact ever did       7    Roxane employees?
 8   such a thing, such as sending advertisements on      8        A. Not that I'm aware of, no.
 9   its products directly to Ven-A-Care?                 9        Q. During the course of Ven-A-Care's
10       A. I guess the reason I answered the way I      10    investigation, did it ever speak with any
11   did is, because we're talking about 20 years        11    wholesaler to discuss Roxane's pricing practices
12   here, and, you know, back in thousands and          12    or to see whether Roxane had any -- any
13   thousands and thousands of documents. No. I         13    involvement in the pricing that a wholesaler was
14   don't think it happened. I'm just -- I don't        14    setting for Roxane products?
15   want to rule out the possibility that it may have   15           MR. BREEN: Objection. Form.
16   happened somewhere in the past. That's all.         16           THE WITNESS: So what you're asking,
17       Q. And you're not aware of any document in      17    did anyone from Ven-A-Care talk to a wholesaler
18   your production -- and I'll represent to you that   18    about prices and prices that Roxane was
19   we have found no such document that would in fact   19    submitting to the wholesaler?
20   be an advertisement from Roxane or a pricing        20    BY MR. GORTNER:
21   sheet from Roxane announcing its prices to Ven-A-   21        Q. Correct.
22   Care.                                               22        A. I don't know. I mean, I don't think I


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                                                              40 (Pages 1212 to 1215)
                                                1212                                                       1214
 1   can answer that question a hundred percent           1    pharmaceutical distributors.
 2   accurately. I don't -- I mean, I don't know.         2       Q. All right. And let -- let me clarify.
 3      Q. What would it -- what would require for        3    Let me actually define what I mean by "inside
 4   you to be able to answer that question?              4    information," and we can come up with a different
 5      A. I guess I'd have to ask Lewis, John or         5    term, actually, which is: Did -- did Ven-A-Care
 6   even Zach. I don't know if Zach has ever talked      6    have any information, in terms of how Roxane
 7   to whole -- I mean, Zach was noted for picking up    7    internally, in its own business, set its
 8   phones and calling people. So --                     8    published AWPs or its published WAC prices?
 9      Q. So you can't answer one way or the             9           MR. BREEN: Objection to form.
10   other right now?                                    10           THE WITNESS: Ven-A-Care only knew that
11      A. I don't want to, because I don't know a       11    First DataBank and Red Book were the compendia
12   hundred percent whether he did or not.              12    that drug manufacturers submitted their prices
13      Q. But you never did?                            13    for.
14      A. No. I didn't.                                 14           Those were the prices -- or those
15      Q. And you don't know for a fact that            15    published prices were the ones that were used for
16   anyone --                                           16    reimbursement. We had Roxane's price list, and
17      A. I don't know for a fact, no.                  17    that's what we had. Did we know Roxane's inside
18          MR. BREEN: That's a question you want        18    employees talking about doing it? No, we did
19   him to inquire of other members of Ven-A-Care on    19    not.
20   --                                                  20    BY MR. GORTNER:
21          MR. GORTNER: Sure.                           21       Q. And that -- that last statement goes to
22          MR. BREEN: -- to find out? I'll be           22    the question I'm asking you, is that: During the
                                                1213                                                       1215
 1   happy to do that.                                 1       course of your investigation, outside of
 2           MR. GORTNER: Okay.                        2       documents or testimony that you've obtained in
 3           THE WITNESS: And Lewis frequently         3       this litigation, did Ven-A-Care have any
 4   talked to wholesalers, too, so -- and I'm not     4       information about how Roxane's employees
 5   saying that if they did, that would be the        5       determined contract prices for drugs?
 6   substance, but --                                 6          A. Outside of the investigation, no.
 7           MR. BREEN: I did not prepare him for      7          Q. Well, in other words, I'm not asking
 8   that specific question, so I'll be happy to       8       outside of the investigation. I'm asking outside
 9   follow up on it later.                            9       of documents or testimony that you received
10   BY MR. GORTNER:                                  10       during the course of this litigation from Roxane,
11       Q. Mr. Jones, prior to Ven-A-Care filing     11       did Ven-A-Care have any information about how
12   its first complaint in April of 2000, did Ven-A- 12       Roxane's employees set contract prices on its
13   Care have any inside information with regard to  13       products?
14   Roxane's business practices? And do you          14          A. So you're asking me other than what
15   understand what I mean by "inside information"?  15       I've learned in the investigation?
16       A. The inside information Ven-A-Care had     16          Q. Right.
17   was Roxane's pricing.                            17               MR. BREEN: No. That's not what he's
18       Q. The published pricing in the              18       asking you.
19   marketplace.                                     19               THE WITNESS: I'm -- I'm confused.
20       A. Well, the contract pricing, the pricing   20               MR. BREEN: He's -- he's separating --
21   through the pharmaceutical provide -- you know, 21        he's distinguishing between the discovery
22   the -- the wholesalers, the GPOs, the            22       process, what we learned, what you learned in the


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                                                              42 (Pages 1220 to 1223)
                                                1220                                                             1222
 1      A. Do you mean how they reconciled?               1          AFTERNOON               SESSION
 2      Q. Correct.                                       2                 (1:13 p.m.)
 3      A. No.                                            3
 4      Q. And Ven-A-Care wasn't privy to any             4    Whereupon,
 5   communications that Roxane had between Roxane and    5                T. REED JONES,
 6   group purchasing organizations such as Innovatix     6    the witness on the stand at the time of recess,
 7   or ServAll?                                          7    having been previously duly sworn, was further
 8          MR. BREEN: Objection. Form.                   8    examined and testified as follows:
 9          THE WITNESS: Only if Roxane -- and I          9
10   can't recall if they did. Only if Roxane would      10       EXAMINATION BY COUNSEL FOR DEFENDANT ROXANE
11   have submitted one of those, you know, price        11    BY MR. GORTNER: (RESUMED)
12   change sheets or contract change sheets to the      12          THE VIDEOGRAPHER: The time is 1:13
13   particular GPO, the GPO would pass it down to the   13    p.m. We're back on the record.
14   purchaser, then that would be a way for Ven-A-      14       Q. Welcome back, Mr. Jones.
15   Care, or anyone, to find it out.                    15       A. Thank you.
16   BY MR. GORTNER:                                     16       Q. Was Ven-A-Care ever a member of -- of
17      Q. If that occurred --                           17    Novation?
18      A. If that occurred. I'm just talking            18       A. Novation the GPO?
19   hypothetical.                                       19       Q. Correct. Novation GPO.
20      Q. You don't know if that occurred?              20       A. I don't recall. It's possible. But I
21      A. I don't recall if it happened at all.         21    don't recall off the top of my head.
22      Q. And if that did occur, would that be          22       Q. What do you know about Novation GPO?

                                                1221                                                             1223
 1   the extent of your knowledge?                        1       A. Not a whole lot. I mean, nothing in
 2          MR. BREEN: Objection. Form.                   2    particular specifically.
 3          THE WITNESS: Of that issue, yes.              3       Q. Are you aware that Novation GPO
 4          Are we getting close to a place where         4    predominantly, in some instances, exclusively
 5   we can eat lunch?                                    5    sells to hospital members?
 6          MR. GORTNER: Sure. Sure. Let's take           6       A. I have some understanding of that, yes.
 7   a break.                                             7       Q. Would that lead you to believe that it
 8          THE VIDEOGRAPHER: Going off the record        8    was unlikely that Ven-A-Care was a member of
 9   at 11:55 a.m.                                        9    Novation GPO?
10             (Whereupon, at 11:55 a.m., the            10       A. Yeah.
11   deposition in the above-entitled matter was         11       Q. Did Ven-A-Care ever obtain prices on
12   recessed, to reconvene at 1:00 p.m., this same      12    Novation's Nova Plus version of Ipratropium
13   day.)                                               13    Bromide?
14                                                       14       A. I don't know. I don't -- it doesn't
15                                                       15    sound familiar to me.
16                                                       16       Q. Do you recall whether your
17                                                       17    investigation of Roxane ever included these Nova
18                                                       18    Plus Ipratropium Bromide products?
19                                                       19       A. Well, I don't know. I don't remember
20                                                       20    having Novation as a GPO. I mean, I don't know
21                                                       21    that we even investigated Novation, or, you know,
22                                                       22    looked at it, or at least I didn't.


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                                                              43 (Pages 1224 to 1227)
                                                 1224                                                      1226
 1       Q. So it's fair to say that, then, that          1            The extent of Ven-A-Care's knowledge
 2   wasn't something that you would have been            2    with respect to Roxane's sales force practices
 3   reporting prices to the government on?               3    for its general information about the industry
 4       A. I don't -- if I have it -- if I didn't        4    and in terms of specifics to Roxane, Ven-A-Care
 5   have it, and I wasn't -- you know, I wasn't using    5    knew Roxane's published prices and some of the
 6   it, then, no, I wouldn't have reported prices. I     6    prices that were offered through GPOs and
 7   don't think, you know.                               7    wholesalers, correct?
 8       Q. Mr. Jones, prior to Ven-A-Care filing         8       A. Yes.
 9   its initial qui tam complaint against Roxane in      9       Q. But it didn't have any direct knowledge
10   April of 2000, did Ven-A-Care have any direct       10    of what Roxane's sales forces were actually doing
11   knowledge of how Roxane trained its sales forces?   11    with particular customers in terms of what they
12       A. No.                                          12    were saying to customers?
13       Q. So it's fair to say Ven-A-Care didn't        13       A. Ven-A-Care had a general idea of how
14   have any knowledge of how Rox -- whether Roxane     14    the industry operated. You know, we -- we
15   trains its sales forces on the significance of      15    certainly had had experiences with all kinds of
16   Medicare or Medicaid reimbursement, for instance?   16    sales reps, but not necessarily Roxane sales
17           MR. BREEN: Objection. Form.                 17    reps.
18           THE WITNESS: I'm sorry. Repeat that.        18       Q. All right. And that was my question.
19           MR. GORTNER: I'll withdraw -- I'll          19       A. Right.
20   withdraw the question.                              20       Q. I understand --
21           THE WITNESS: Okay.                          21       A. Right.
22           MR. GORTNER: It's a confusing               22       Q. -- you've testified extensively about
                                                 1225                                                      1227
 1   question.                                            1    the industry knowledge.
 2           THE WITNESS: Okay.                           2        A. Right.
 3   BY MR. GORTNER:                                      3        Q. My limited question is: Did you have
 4       Q. I think you answered it, because you          4    any specific knowledge about Roxane's sales force
 5   testified you didn't know how they trained their     5    practices themselves?
 6   sales forces at all.                                 6        A. No.
 7       A. No.                                           7        Q. Now, subsequent to filing that
 8       Q. And prior to filing the first complaint       8    complaint in April of 2000, did -- did Ven-A-Care
 9   in April of 2000, did Ven-A-Care have any direct     9    come to obtain knowledge about how Roxane's --
10   knowledge of whether Roxane's sales personnel had   10    how Roxane trained its sales forces?
11   ever actively marketed the spread to any of         11        A. Well, Ven-A-Care continued its
12   Roxane's customers?                                 12    investigation of the prices, making sure that it
13           MR. BREEN: Objection. Form.                 13    followed the prices. No. I -- I don't know that
14           THE WITNESS: Other than using our           14    -- outside of the government investigation, you
15   industry insider price list and prices, I don't     15    know, depositions and documents, Ven-A-Care, its
16   know that Ven-A-Care had any information about      16    investigation was all from its insider
17   their sales force and what they were doing at       17    information.
18   that point, no.                                     18        Q. Okay.
19   BY MR. GORTNER:                                     19        A. Prices.
20       Q. Okay. So in terms of the sales force -       20        Q. So the answer is no, and -- and -- and
21   - and please correct me if I'm saying this          21    let me just try to restate or re-ask a question
22   incorrectly.                                        22    so that it's real clear for the record.


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                                                 1228                                                      1230
 1          The information that Ven-A-Care had           1    that is, things like the pricing information that
 2   about how Roxane trained its sales forces or what    2    you were able to obtain --
 3   Roxane's sales forces were telling customers,        3        A. Right.
 4   that information comes exclusively from              4        Q. -- from McKesson and distributors; the
 5   depositions or documents or things that have been    5    advertisements, any sales contacts that Ven-A-
 6   obtained through discovery in these cases. Is        6    Care received. That I'm referring to as Ven-A-
 7   that fair to say?                                    7    Care's investigation. I'm trying to draw a
 8          MR. BREEN: Objection. Form.                   8    distinction between that and testimony and
 9          I'd ask that that question be read            9    documents that were produced by Roxane in the
10   back, because there was a helicopter going over,    10    Texas litigation, for instance, or in this
11   and I'm not sure if I heard --                      11    litigation.
12          MR. GORTNER: Sure.                           12            Does that -- does that distinction make
13          MR. BREEN: -- to the end. So if you          13    sense to you?
14   could read that back for the witness, I'd           14        A. Yes.
15   appreciate it. Please listen to the question.       15        Q. Okay. With that distinction in mind,
16          THE REPORTER: Question : The answer          16    what I'm trying to now ask you is: In terms of
17   is no, and let me just try to restate or re-ask a   17    the information that Ven-A-Care came to obtain
18   question so it's real clear for the record. The     18    after April of 2000 with respect to Roxane's
19   information that Ven-A-Care had about how Roxane    19    training of its sales forces, is it fair to say
20   trained its sales forces or what Roxane's sales     20    that whatever information Ven-A-Care had about
21   forces were telling customers, that information     21    how Roxane trained its sales forces came from
22   comes exclusively from depositions or documents     22    materials in the litigation?
                                                 1229                                                      1231
 1   or things that have been obtained through            1           MR. BREEN: Objection. Form.
 2   discovery in these cases. Is that fair to say?       2           THE WITNESS: I'm -- I'm afraid to
 3          MR. BREEN: Objection. Form.                   3    commit to that absolutely because I don't, off
 4   BY MR. GORTNER:                                      4    the top of my head, remember exactly every
 5       Q. Do you understand the question, Mr.           5    interaction, everything that we learned, whom we
 6   Jones?                                               6    spoke with. And I'm not saying I spoke with
 7       A. You're trying to bifurcate and say that       7    Roxane's sales force. I could have been speaking
 8   everything that Ven-A-Care learned about Roxane's    8    with someone outside of all that.
 9   sales force was only through the investigation       9           In general, we didn't have a lot of
10   and the discovery process.                          10    knowledge about what Roxane was doing with their
11       Q. I actually want to separate those two -      11    sales force. But I don't want to state on the
12   - those two things, and maybe we can get some       12    record that we never knew anything outside of
13   clarity about that.                                 13    that. Do you understand what I'm saying?
14       A. Uh-huh.                                      14    BY MR. GORTNER:
15       Q. And let's see if we can agree on -- on       15        Q. I understand that. I guess the
16   this, Mr. Jones.                                    16    question now is: Sitting here today, are you
17       A. Okay.                                        17    aware of any information that you obtained,
18       Q. The -- the -- Ven-A-Care's                   18    outside of documents produced in this litigation
19   investigation, when I'm referring to Ven-A-Care's   19    or testimony obtained in this litigation, with
20   investigation, I'm referring to the process by      20    respect to Roxane's training of its sales forces?
21   which you gathered information through your own -   21           MR. BREEN: Objection. Form.
22   - through Ven-A-Care's own means. What I mean by    22           THE WITNESS: I'll concede and say


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                                                1232                                                      1234
 1   right at this moment, I can't recall, you know,      1    person would do or be in charge of. Was it --
 2   any information that would make me say anything      2    was it someone personal doing it? No. But it
 3   else, so --                                          3    was the GPO marketing spread with Roxane product.
 4   BY MR. GORTNER:                                      4    BY MR. GORTNER:
 5       Q. Now, on the second topic with respect         5       Q. Okay. So you're referring to this --
 6   to what Roxane's sales forces may or may not have    6    this -- the category you're distinguishing are --
 7   been communicating to customers about the spread,    7    are communications from GPOs, for instance, to --
 8   would you agree with me that whatever information    8    to Ven-A-Care?
 9   Ven-A-Care has obtained, following the April 2000    9        A. Right. Because you're trying to --
10   filing of this complaint, was obtained through      10    what you're doing is, you're asking me to
11   documents or testimony in litigation involving      11    distinguish marketing and -- and sales reps and
12   Roxane?                                             12    what they do and what they say.
13          MR. BREEN: Objection. Form.                  13       Q. Well, let me just take a step back.
14          THE WITNESS: Well, the more I think          14            Are you -- I am trying to refer to
15   about it, there was also all the congressional      15    individuals that you -- that we could agree on
16   stuff that we were dealing with. And I also sat     16    that were Roxane employees versus employees of a
17   in the congressional hearing with Roxane            17    GPO, okay? Can we make that distinction?
18   employees like Leslie Paoletti. So I -- so I had    18        A. Yes.
19   interaction with people like that outside of the    19       Q. Okay. So my question here is that what
20   investigation or outside of knowing Roxane's        20    you're referring to in this case were situations
21   intimate information. You know what I'm saying?     21    where GPO employees have communications with Ven-
22   That's where I'm confused, because --               22    A-Care. Okay. Sticking with that particular

                                                1233                                                      1235
 1   BY MR. GORTNER:                                    1      interaction, do you have any information that a -
 2       Q. No. I under -- I understand that. And       2      - any GPO employee ever discussed the spread on
 3   let me -- I'll certainly -- let me include that    3      Roxane's products with a Ven-A-Care person?
 4   in the question as well, is that aside from        4         A. Other than putting it in writing, no.
 5   Roxane's statements in congressional hearings and  5         Q. And you mean by "putting it in writing"
 6   the documents and testimony provided in            6      are things like ads for products that might
 7   litigation involving Roxane, did Ven-A-Care have   7      include Roxane's products under a GPO letterhead?
 8   any other source of information with respect to    8         A. That could be one form, or price lists
 9   what Roxane's sales forces were telling customers  9      that calculate out the AWP and the spread between
10   regarding the spread?                             10      the AWP and the -- and the cost.
11           MR. BREEN: Objection. Form.               11             And I -- and I -- and I don't have a
12           THE WITNESS: Well, I mean, the only       12      problem telling you, I never had a conversation
13   way I could reduce it down and feel totally       13      with a Roxane employee about that, if that's what
14   comfortable with this -- with this yes-or-no      14      you are wanting me to say.
15   answer is, if I was able to say, "Look. We -- we  15         Q. I'm not wanting you to say anything.
16   were GPO customers. GPOs frequently represented 16        I'm just asking questions and trying to
17   Roxane's prices, just like they represented       17      understand --
18   Warrick's or Dey's or Abbott's.                   18         A. I know. I understand.
19           And when they represented them, they      19         Q. -- what Ven-A-Care knew, during the
20   often would give you the price. They'd give you   20      course of its investigation, about the training
21   the spread amount. So that's, to me, marketing    21      of Roxane's sales employees and what Roxane's
22   the spread. That's something that a sales force   22      sales employees were telling customers. That's


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                                                 1236                                                     1238
 1   what I'm trying to find out from you.                1        Q. During the course of its
 2          And if I'm understanding your responses       2    investigations, did Ven-A-Care ever investigate
 3   correctly, it's that Ven-A-Care did not have         3    Roxane's profits?
 4   information, outside of this litigation or           4        A. Roxane the company's profits?
 5   congressional hearings, as to what Roxane's sales    5        Q. Uh-huh.
 6   employees were telling customers, if anything,       6        A. I would -- I suspect that we did some
 7   about the spread?                                    7    kind of corporate query on Roxane. It wasn't
 8       A. Ven-A-Care had its assumptions. Ven-A-        8    unusual, for at least the attorneys or the
 9   Care, because it was an industry insider,            9    paralegals, to do a query on the corporation,
10   understood the way the market worked and what it    10    just for all of the legal reasons that you had to
11   -- and had assumptions about it, but Ven-A-Care     11    know what that corporation, what the name was,
12   never had a particular conversation with a Roxane   12    you know, well, who was the owner or where they -
13   employee about that.                                13    - what -- what -- who are they related to. All
14       Q. Nor did Ven-A-Care have information          14    that stuff.
15   about particular conversations that Roxane          15        Q. Do you know whether Ven-A-Care ever
16   employees actually had with customers with          16    investigated Roxane's profitability with respect
17   respect to the spread?                              17    to the drugs that are being alleged in the
18          MR. BREEN: Objection. Form.                  18    current complaint in this case?
19          THE WITNESS: Well, I know that --            19        A. Directly related to the drugs? I don't
20   well, never mind. I -- I just have a hard time      20    think so, no.
21   answering that question, because I don't -- I       21        Q. Did Ven-A-Care ever study whether
22   don't understand the boundary on it, you know,      22    Roxane's market share changed because of a change
                                                 1237                                                     1239
 1   what Ven-A-Care knew when and how. And I just        1    in any published AWP or WAC price?
 2   want to commit to saying Ven-A-Care didn't know      2        A. Well, I think that one of the things
 3   anything, because Ven-A-Care knew a lot. It was      3    that Dr. Lockwood always did was take these drugs
 4   out there instructing, you know, a lot of people     4    and put them in -- in queries, look at
 5   about what was happening in the marketplace, how     5    utilization, look at price changes, you know.
 6   drugs were being sold, how drugs were being          6    And he -- he actually did track. We have always
 7   marketed.                                            7    tracked stuff like that in general. We weren't
 8   BY MR. GORTNER:                                      8    as sophisticated as John is. You know, John will
 9       Q. I understand that, Mr. Jones. My              9    -- John will put it on a computer now and take it
10   question is just -- is very simple to you: Did      10    and look it, look at -- look at the drug, look at
11   Ven-A-Care have any information, prior to filing    11    the price, look at the price change, see what
12   its April 2000 complaint, specifically about what   12    utilizations are, if utilizations have changed.
13   Roxane's sales force were saying to customers       13    I believe he's -- I think he's testified to that
14   about the spread, if anything?                      14    as well.
15       A. I'm not a hundred percent sure.              15        Q. Do you know for a fact whether Ven-A-
16       Q. And right now, as the corporate              16    Care did such an investigation with respect to
17   designee for Ven-A-Care, you're not aware of any    17    the NDCs or other drugs at issue in this case?
18   information that would lead you to believe that     18    And what I mean by "this case" is the Department
19   Ven-A-Care in fact had such information?            19    of Justice case against Roxane.
20         MR. BREEN: Objection. Form.                   20        A. Uh-huh. I think that -- I believe that
21         THE WITNESS: Right. Yes.                      21    Ven-A-Care at least looked at the Ipratropiums,
22   BY MR. GORTNER:                                     22    the inhalants, and then probably broke it down


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                                                1252                                                      1254
 1      Q. Okay. And what, if anything, did Ven-        1     spread that would gain the company increased
 2   A-Care know, as a result of its direct and         2     market share."
 3   independent investigation, about Roxane's          3             What did Ven-A-Care know, if anything,
 4   decision, in 1996, to develop a pricing strategy   4     about this allegation that employees at BIPI
 5   for the launch Ipratropium Bromide?                5     acted in concert with Roxane here?
 6      A. Well, what Ven-A-Care knew, because it       6         A. I think that this is a -- an example of
 7   had the pricing, insider pricing, we knew -- Ven-  7     something found in discovery. This would be the
 8   A-Care knew that they had created a spread         8     Furo train, I believe, the furosemide. And I
 9   between AWP and its purchase price. We knew that 9       actually believe this -- this related to Leslie
10   they reported their -- their AWPs and WACs to Red 10     Paoletti's testimony in the congressional
11   Book and Blue Book. We knew that Red Book and 11         hearings that we were at.
12   Blue Book would then be used as a reimbursement, 12          Q. And the Furo train, you're referring to
13   a reimbursement mechanism for Medicare and        13     an e-mail document?
14   Medicaid, and we knew that they sold their drugs  14         A. An e-mail document, yes.
15   through wholesalers, and we knew they sold them   15         Q. And it was an e-mail document that was
16   also through specialty -- specialty pharmacies -- 16     produced in the -- I think first in the Texas
17   or specialty wholesalers. I'm sorry.              17     litigation?
18          And basically by doing that, they          18         A. Perhaps. Perhaps.
19   created the spread, and they were able to gain    19         Q. Okay. So that -- that's -- the basis
20   their market. I mean, that was easy to see. In    20     of that allegation comes --
21   fact, that's why that -- that chart was so        21         A. Yes.
22   important.                                        22         Q. -- from that -- that e-mail?
                                                1253                                                      1255
 1       Q. The Ipratropium Bromide chart?               1           MR. BREEN: You mean -- when you say
 2       A. Right. And it wasn't specific to             2    "that allegation," can you -- to be real clear on
 3   Roxane. It was just an Ipratropium Bromide          3    the record --
 4   chart.                                              4           THE WITNESS: Number 63.
 5       Q. Right. Did you ever mention Roxane in        5           MR. BREEN: -- do you mean --
 6   connection with that chart during these             6           MR. GORTNER: The employees at BIPI in
 7   presentations that you made to states and the       7    concert with the employees of Roxane.
 8   federal government?                                 8           MR. BREEN: Okay.
 9       A. I believe that when we were making           9    BY MR. GORTNER:
10   those presentations, we mentioned the players,     10        Q. And I understand what your testimony
11   you know, like Roxane, Dey.                        11    earlier was saying, is that -- is that Ven-A-Care
12       Q. Okay. And Roxane, Dey would have been       12    had the ability to see the published AWPs, for
13   the main players?                                  13    certain Roxane products, in compendia, like Red
14       A. The main two that we were looking at,       14    Book, for instance, and then through information
15   yes.                                               15    sources like the McKesson, Econolink or GPOs, or
16       Q. Okay. Looking at paragraph 63, just         16    other wholesalers, you could see the prices that
17   the first line of paragraph 63, it reads, "In      17    -- that were -- were there and could calculate
18   another example of defendant's fraudulent          18    the difference between the two. That -- that's
19   conduct, in August 2000, employees at BIPI, in     19    something that Ven-A-Care was doing or was able
20   concert with employees of Roxane, decided to       20    to do. Is that fair to say?
21   falsely increase the AWPs on Roxane's Furosamide   21        A. It's something Ven-A-Care did all the
22   products for the express purpose of creating a     22    time.


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 1       Q. Okay. And from -- and from those two          1    produced by Ven-A-Care, and perhaps in an
 2   pieces of information, the published AWP and the     2    interrogatory response, Ven-A-Care has identified
 3   -- the price that was offered by the particular      3    that it, at points just before or at the time
 4   GPO or the wholesaler, when there was a spread,      4    they filed the amended complaints, that they were
 5   Ven-A-Care would make the inference that Roxane      5    submitting disclosure statements from them as to
 6   was purposely creating that spread. Is that a        6    the federal government. Okay?
 7   fair statement?                                      7            What I wanted to ask you first is in
 8       A. Well, yeah. I mean, purposely in that         8    regard to the first disclosure statement. What -
 9   they are in control of their prices, and they're     9    - what was sent with relationship to the April
10   the ones that submitted the prices to the           10    2000 complaint that's been marked previously as
11   compendia.                                          11    Roxane 90?
12          Whether they submitted an AWP and a          12            Can you tell me what specific facts
13   WAC, or a WAC that was calculated to be in an       13    Ven-A-Care disclosed to the government about
14   AWP, it was theirs. They owned it. It was their     14    Roxane specifically, and in particular, Roxane's
15   responsibility.                                     15    sales prices on its drugs?
16       Q. But that goes back to my earlier             16       A. Well, what I would immediately be able
17   question that Ven-A-Care didn't have a contact or   17    to say is, that we disclosed all of our price and
18   a source that worked within Roxane, so you had to   18    cost lists. You know, all of our GPO prices, all
19   make inferences about --                            19    our wholesale prices, any specialty wholesaler
20       A. Correct.                                     20    prices, any -- any fliers that we had that may
21       Q. -- what Roxane was intending to do?          21    represent, you know, any kind of marketing of
22       A. Yeah. I'll agree with that.                  22    Roxane drugs.
                                                 1257                                                      1259
 1        Q. Okay. I'm going to ask you a few             1            Let's see. If we had done any kind of
 2   questions about disclosure statements.               2    a corporate search, you know, any kind of a
 3           Is it correct that at each point prior       3    relationship search, we would have submitted
 4   or contemporaneous with filing a qui tam             4    that.
 5   complaint in this case, that Ven-A-Care submitted    5       Q. Well, let's stick with Roxane's prices
 6   what we've been referring to as a disclosure         6    for its drugs --
 7   statement or amendments to the disclosure            7       A. Uh-huh.
 8   statement related to those particular complaints?    8       Q. -- in the marketplace, which, in the
 9        A. Ven-A-Care was in the habit of               9    instance of Ven-A-Care, would -- would refer to
10   submitting disclosure statements. It was also in    10    prices that were offered by either group
11   the habit of submitting just disclosures all the    11    purchasing organizations like ServAll or
12   time.                                               12    Innovatix --
13           You know, whenever it found drugs that      13       A. Uh-huh.
14   it was interested in, using an amendment,           14       Q. -- or wholesalers like McKesson or
15   whenever it found any kind of information that      15    ANDA.
16   was appropriate to a particular case that was       16       A. Uh-huh.
17   maybe going to be amended, we would always give     17       Q. Given that that was Ven-A-Care's source
18   it to someone in that, you know, either the DOJ,    18    for prices, what specific prices were provided to
19   the U.S. attorney, the OIG.                         19    the government on or before April 10th, 2000 in
20        Q. Okay. Well, let's -- let's tick             20    that disclosure statement?
21   through some of the disclosure statements. And      21       A. (No audible response.)
22   I'll represent to you that on the privilege log     22            MR. BREEN: Can I make a suggestion?


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 1          Can you tell me what specific facts           1    control number. Ms. Forrest is available today
 2   Ven-A-Care communicated to the government about      2    to pull up any of those and crosswalk those to
 3   Roxane's drug prices?                                3    the MDL production number, so that we can
 4          MR. BREEN: And I'm going to instruct          4    actually point you to the produced document, if
 5   the witness, I'm going to allow the witness to       5    you want to do it to any one of them, do a
 6   answer questions regarding factual information       6    sample, or do it after the deposition. We'll do
 7   that Ven-A-Care provided to the government           7    it any way you want to do it.
 8   regarding Roxane's drug prices, but I'll ask that    8            MR. GORTNER: Well, what I'm going to -
 9   the witness not divulge any information regarding    9    - yeah. What I'm going to propose that we do, in
10   case strategy, theories of the cause of action,     10    the interest of time, and what we have to cover
11   or anything like that that were gleaned from        11    that's left, is, Jim, I'm going to take you up on
12   discussions with counsel or counsel for the         12    your offer to do this after the deposition, and
13   United States.                                      13    what we can do is agree to crosswalk the -- the
14          And if the witness has difficulty in         14    internal Bates numbers, or the documents that
15   drawing the line there, let us know, and we'll      15    were produced by disclosure statement to the ones
16   try to work it out together.                        16    that are in the MDL -- the VAC MDL Bates labels
17          THE WITNESS: So can I use the two            17    so that we can identify those documents in the
18   together?                                           18    actual document production.
19          MR. BREEN: You can use two together.         19            And I think that if we can reach
20   Right now, I think Mr. Gortner's question is at     20    agreement to do that, that that will address the
21   the time of the April 2000 original --              21    large majority of the questions that we have.
22          THE WITNESS: 14. Yeah.                       22    There may be a few follow-ups or if there's going
                                                 1273                                                      1275
 1          MR. BREEN: -- original filing.                1    to be authentication suggestions.
 2          THE WITNESS: What I have here in front        2            MR. BREEN: We can do that. And I just
 3   of me shows that we have -- we've produced ANDA      3    want to note, though, that the VA -- the Ven-A-
 4   Generics, including invoices or an invoice. We       4    Care internal control numbers are on the produced
 5   produced Amerinet contract item listing by Bergen    5    documents. And we've made that clear in the
 6   Brunswig.                                            6    records custodian depositions and things like
 7   BY MR. GORTNER:                                      7    that. But we'll do it. We'll help you with a
 8      Q. Let me interrupt you just a moment,            8    crosswalk.
 9   because we may be able to short circuit this.        9            MR. GORTNER: Okay.
10          You're looking at Roxane 202 right now.      10    BY MR. GORTNER:
11   You're looking at item one, ANDA Generics, which    11        Q. Well, then, let's -- let's move on to
12   has a variety of Bates label. You can't tell me     12    another topic, then, Mr. Jones, which, hopefully,
13   right now --                                        13    will be less complicated.
14      A. No.                                           14            Mr. Jones, I have a few questions, and
15      Q. -- whether that had Roxane-specific           15    they're really, I think, clarifying questions
16   information. And, obviously, we haven't had this    16    about Ven-A-Care's business during certain
17   document before this moment, so I can't tell you    17    periods of time prior to the filing of Ven-A-
18   right now whether there's Roxane information in     18    Care's first complaint.
19   there.                                              19            First of all, as I understand from
20          MR. BREEN: What we can do is, is see         20    prior testimony, from both you and Dr. Lockwood
21   the Ven-A-Care Bates number on the right-hand       21    and different principals of Ven-A-Care, that is
22   corner? That's the Ven-A-Care internal corporate    22    it fair to say that the Medicare side -- or to be


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 1   clear, Medicare patients were a small part of       1        Q. I want to focus attention on Ven-A-
 2   Ven-A-Care's business? Is that a fair               2    Care's investigations of inhalation drugs and
 3   characterization?                                   3    Ipratropium Bromide in particular.
 4      A. I believe that's a fair                       4           You had indicated earlier that Ven-A-
 5   characterization.                                   5    Care had focused on Ipratropium Bromide fairly
 6      Q. Or actually to be clear, I think -- I         6    early. And what I mean by "fairly early" is
 7   think the testimony was that Medicare was a very    7    around the 1996-'97 time period, when generics
 8   small part and Medicaid was a small part.           8    and Ipratropium Bromide from Roxane and Dey were
 9      A. Yes.                                          9    entering the market. Is that correct?
10      Q. That's correct?                              10        A. Yes.
11      A. That would be a good characterization.       11        Q. And my understanding is that Ven-A-Care
12      Q. And that by mid 1996, Ven-A-Care was         12    was also involved in some OIG reports that had
13   only seeing a few patients as part of its          13    been issued that addressed the Ipratropium
14   practice; is that correct?                         14    Bromide. Do you have any recollection of that?
15      A. Yes. I think by 1996, we had pretty          15        A. The OIG reports -- well, we've helped
16   much exhausted our patient base. There were --     16    Rob Vitto on many occasions with drug pricing. I
17   there were patients that we'd had that we had      17    mean, from inhalation drugs to chemotherapy and
18   kept that were long term, but we basically         18    TP and all that stuff. But the inhalation drug
19   weren't getting any -- any really new patients.    19    report that I remember that he used a lot of our
20          I think in '98, I treated my mother. I      20    information on, was the Albuterol report in '96.
21   mean, that -- that's kind of where we were. And    21    And then later on there was -- I guess there was
22   we were doing back billings on stuff that we       22    -- I guess it was toward the late '90s, the
                                                1277                                                     1279
 1   never got. But, you know, the Immune Care           1    Ipratropium.
 2   venture essentially wiped us out.                   2        Q. Right. The one I'm referring to -- and
 3       Q. Okay. And they wiped you out by              3    I can pull a copy of it out in a moment -- is:
 4   sometime in the mid '90s? Is that fair?             4    Do you recall there was a 1998 OIG report that
 5       A. I would say, you know, mid -- mid '90s.      5    compared the payments that Medicare was making,
 6   I mean, the writing was on the wall.                6    for a variety of drugs, including Ipratropium
 7       Q. Now, during its investigation of             7    Bromide and Albuterol, with the payments that the
 8   Roxane, did Ven-A-Care ever acquire knowledge       8    Veteran's Administration was making?
 9   that Roxane ever informed a provider on how to      9        A. Vaguely I recall it, yes.
10   fill out a Medicare or Medicaid claim form?        10        Q. Is it accurate that Ven-A-Care supplied
11       A. You mean like either personally or          11    pricing information to the OIG with respect to
12   through some sort of a billing guide book or --    12    the Ipratropium Bromide products in that case?
13   no.                                                13        A. I would say probably, yes.
14       Q. You're not aware, are you, that anyone      14        Q. Okay. Do you recall whether that
15   affiliated with Roxane ever told a provider what   15    report itself was at Ven-A-Care's suggestion?
16   to fill in as, for instance, a usual and           16        A. No. I don't think it was at our
17   customary charge in a Medicaid form?               17    suggestion. I mean, I don't remember it being at
18       A. No.                                         18    our suggestion.
19       Q. And Roxane certainly never communicated     19              (Exhibit Roxane 205 was marked for
20   to Ven-A-Care any information on how it should     20    identification.)
21   submit or not submit claims in this practice?      21    BY MR. GORTNER:
22       A. No.                                         22        Q. I marked this as Exhibit 205, Mr.


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